           Case 2:12-cr-00071-MJP          Document 18        Filed 02/21/12      Page 1 of 2




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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE

 8   UNITED STATES OF AMERICA,                             NO. MJ12-81
 9
                                   Plaintiff,
10
            v.
11                                                         DETENTION ORDER
     FRANCISCO VELASQUEZ,
12
                                   Defendant.
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     Offense charged:
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            Conspiracy to Distribute Controlled Substances, in violation of 21 U.S.C. §§ 841(a),
16          841(b)(1)(A) and 846
17
     Date of Detention Hearing: February 17, 2012
18
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
20
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
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                    defendant is a flight risk and a danger to the community based on the nature of
23
                    the pending charges. Application of the presumption is appropriate in this case.
24
            2.      Defendant has no ties to this jurisdiction.
25
            3.      Defendant is unemployed.
26

     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 1
         Case 2:12-cr-00071-MJP         Document 18       Filed 02/21/12      Page 2 of 2




 1         4.    The evidence against the defendant, although the least significant factor, is very

 2               strong.

 3         5.    There are no conditions or combination of conditions other than detention that

 4               will reasonably assure the appearance of defendant as required or ensure the

 5               safety of the community.

 6         IT IS THEREFORE ORDERED:
 7         (1)   Defendant shall be detained and shall be committed to the custody of the
 8               Attorney General for confinement in a correction facility separate, to the extent
 9               practicable, from persons awaiting or serving sentences or being held in custody
10               pending appeal;
11         (2)   Defendant shall be afforded reasonable opportunity for private consultation with
12               counsel;
13         (3)   On order of a court of the United States or on request of an attorney for the
14               government, the person in charge of the corrections facility in which defendant
15               is confined shall deliver the defendant to a United States Marshal for the
16               purpose of an appearance in connection with a court proceeding; and
17         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
18               counsel for the defendant, to the United States Marshal, and to the United States
19               Pretrial Services Officer.
20         DATED this 21st day of February, 2012.
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                                               AJAMES P. DONOHUE
23                                              United States Magistrate Judge

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     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 2
